Case 7:22-cr-00121-DC Document 64 Filed 09/29/22 Page 1 of 2

 

 

 

 

 

PS 8
(Rev. 12/04) F/ l F D
UNITED STATES DISTRICT COURT
for
Western District Of Texas
U.S.A. vs. Mark Hodge Docket No.
[0542 7:22CR00121]-[002]
Petition for Action on Conditions of Pretrial Release
COMES NOW Krystal Matta , pretrial services/probation officer, presenting an
official report upon the conduct of defendant = Mark Hodge ‘

 

who was placed under pretrial release supervision by the Honorable Ronald C Griffin

>

 

sitting in the court at Western District of Texas - Midland/Odessa Division — on the 6th date of May , 2022

 

 

 

under the following conditions:

 

7(m) Not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C 802, unless
prescribed by a licensed medical practitioner.

 

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

7(m) The defendant submitted to a random urinalysis on September 14, 2022, which returned positive for cannabinoids.

 

 

 

 

PRAYING THAT THE COURT WILL ORDER the issuance of an arrest warrant and a show cause hearing be held to
determine why the defendant's bond should not be revoked.

I declare under penalty of perjury that the foregoing
is true and correct.

Executed on 09/27/2022

ORDER OF COURT

Considered and ordered this 27th day of Sushi. 4Y)\. AY 4 f X
, 2022 and ordered filed

September

3 U.S. Pretrial Services/Pr i ffic
and made a part of the records in the above case. retrial Services/Probation Officer
Mh Place

U.S. -Brstricrimdize Magistrate Judge

 

 

 
Case 7:22-cr-00121-DC Document 64 Filed 09/29/22 Page 2 of 2

The U.S. Attorney’s Office is in
agreement and so moves under the
provisions of Title 18 USC Section 3148.

Digitally signed

BRAND] byerano1

Assistant U.S. Attorney YOUNG

YOUNG Cate: 2022.09.28

: 17:43:59 -05'00'

 

Date
